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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division




   SONY MUSIC ENTERTAINMENT,et al..

                         Plaintiffs,

           V.                                                Case No. l:18-cv-950


   COX COMMUNICATIONS,INC., ET al.,

                          Defendants.



                                            ORDER


       This matter comes before the Court on Defendants" Objections to Magistrate Judge's

Non-Dispositive Ruling. Dkt. 116. The Court has reviewed the pleadings, the e.xhibits at issue,

and the underlying Order issued by Magistrate Judge Anderson. The Court finds Defendants

have not pointed to any clear error made by Judge Anderson in his Order, nor have they

demonstrated that Judge Anderson's ruling was contrary to law. Therefore. Defendants'

Objections to Magistrate Judge's Non-Dispositive Ruling. Dkt. 116. is DENIED.

       It is SO ORDERED.




May \ 3.2019                                                        'Gr^
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Alexandria, Virginia                                         United States District Judge
